                                         Case 4:20-cv-02254-YGR Document 140 Filed 06/29/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         LD, et al.,
                                   7                                                          Case No. 20-cv-02254-YGR (JCS)
                                                         Plaintiffs,
                                   8
                                                  v.                                          ORDER DENYING IN PART JOINT
                                   9                                                          DISCOVERY LETTER AND SETTING
                                         UNITED BEHAVIORAL HEALTH, et al.,                    DATES FOR BRIEFING AND
                                  10                                                          HEARING ON REMAINING ISSUES
                                                         Defendants.
                                  11                                                          Dkt. No. 137

                                  12
Northern District of California
 United States District Court




                                  13

                                  14          Having reviewed the parties’ joint discovery letter [dkt. no. 137], the Court concludes that

                                  15   the disputes addressed under the heading “additional matters” of the letter are premature as the

                                  16   parties have not adequately met and conferred as to the issues raised in that section of the letter.

                                  17   Therefore, the Court DENIES Plaintiffs’ requests with respect to that section of the letter. As to

                                  18   the remaining issues raised in the Joint Discovery Letter, the Court requests that the parties

                                  19   provide full briefing. Accordingly, the Court sets the following schedule:

                                  20                  Plaintiffs shall file a motion to compel no later than July 8, 2022.

                                  21                  Defendants shall file their responsive brief by July 12, 2022.

                                  22                  Plaintiffs shall file their reply brief by July 15, 2022.

                                  23   A hearing on the Motion to Compel will be held on July 29, 2022 at 9:30 a.m. via Zoom, id. 161

                                  24   926 0804, password 050855.

                                  25          IT IS SO ORDERED.

                                  26   Dated: June 29, 2022

                                  27                                                      ______________________________________
                                                                                          JOSEPH C. SPERO
                                  28                                                      Chief Magistrate Judge
